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 1
 2
 3
 4                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,                            )
                                                        )
 7              Plaintiff,                              )
                                                        )       CR-05-162-FVS-5
 8             vs.                                      )
                                                        )
 9 LARRY J. NIELD,                                      )
                                                        )
                                                                Final Order of Forfeiture

10                Defendant.                            )
                                                        )
11
               WHEREAS, on June 6, 2006, the Court entered a Preliminary Order of
12
     Forfeiture, pursuant to the provisions of 21 U.S.C. § 853, preliminarily forfeiting
13
     to the United States the property described below:
14
               1)        $18,000.00 U.S. currency;
15
               2)        $15,000.00 substitute res in lieu of forfeiture of the 1923 Ford
16                       Roadster, Washington license CV24822, VIN: WA98216274,
                         control #228774; or if said substitute res is not timely received,
17                       the 1923 Ford Roadster, Washington license CV24822, VIN:
                         WA98216274, control #228774; and,
18
               3)        1999 Toyota Truck, Idaho license K329095, VIN:
19                       4TAWN72NXXZ508846.
20             WHEREAS, the United States received the $15,000.00 substitute res in lieu
21 of forfeiture of the 1923 Ford Roadster, and said vehicle was returned to
22 Defendant Larry J. Nield, the following property described below is the property
23 sought for forfeiture to the United States:
24       1)     $18,000.00 U.S. currency;
25             2)        $15,000.00 substitute res in lieu of forfeiture of the 1923 Ford
                         Roadster, Washington license CV24822, VIN: WA98216274,
26                       control #228774; and,
27             3)        1999 Toyota Truck, Idaho license K329095, VIN:
                         4TAWN72NXXZ508846.
28

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 1             WHEREAS Defendant Larry J. Nield's interest in the property described
 2 above was forfeited to the United States via the criminal judgment entered herein.
 3             WHEREAS, 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32.2, require the
 4 resolution of all third-party claims to the property in the final order of forfeiture.
 5             On July 20, 27 and August 3, 2006, the Notice of Preliminary Order of
 6 Forfeiture was published in the Cheney Free Press, a newspaper of general
 7 circulation in Spokane County, Washington, which notified all third parties of
 8 their right to petition the Court within thirty days for a hearing to adjudicate the
 9 validity of their alleged legal interest in the property described above. At the
10 latest, this 30-day period expired on September 5, 2006.
11             It appearing to the Court that Larry J. Nield's interest has been resolved by
12 the criminal judgment herein;
13             It further appearing to the Court that no claims have been made to the
14 property;
15             IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the
16 property described above is hereby forfeited to the United States of America, and
17 no right, title, or interest shall exist in any other person.
18             IT IS FURTHER ORDERED that the United States Marshals Service shall
19 dispose of the forfeited property in accordance with law.
20             ORDERED this       14th   day of September, 2006.
21
                                                s/Fred Van Sickle
22                                              Fred Van Sickle
23                                              United States District Judge

24 Presented by:
25 James A. McDevitt
   United States Attorney
26 s/George J.C. Jacobs III
27 George J.C. Jacobs, III
28 Assistant United States Attorney

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